      Case 4:19-cv-00567-AW-HTC Document 17 Filed 10/06/21 Page 1 of 2
                                                                             Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION



KARLA DAVIS,
      Petitioner,

v.                                               Case No. 4:19cv567-AW-HTC

STATE OF FLORIDA,
      Respondent.

__________________________________/

                                   ORDER

      This case is before the Court upon the magistrate judge’s Report and

Recommendation dated August 10, 2021 (ECF No. 16). There has been no

objection.

      Having considered the Report and Recommendation, I have

determined that the Report and Recommendation should be adopted.

      Accordingly, it is now ORDERED as follows:

      1. The magistrate judge’s Report and Recommendation is adopted

and incorporated by reference in this Order.

      2. This clerk is directed to TRANSFER this case to the United States

District Court for the Middle District of Florida.

      3. The clerk is directed to close the file in the Northern District.

Case No. 4:19cv567-AW-HTC
     Case 4:19-cv-00567-AW-HTC Document 17 Filed 10/06/21 Page 2 of 2
                                                                    Page 2 of 2




     DONE AND ORDERED this 6th day of October, 2021.


                            s/ Allen Winsor
                            ALLEN C. WINSOR
                            UNITED STATES DISTRICT JUDGE




Case No. 4:19cv567-AW-HTC
